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                     IN THE DISTRICT COURT OF THE UNITED STATES
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENWOOD DIVISION


 UNITED STATES OF AMERICA                       )       CRIMINAL NO.: 8:19-cr-00181-DCC
                                                )
      v.                                        )
                                                )
                                                )
 JAMAL DEMARCUS LATIMER                         )



                             ESSENTIAL ELEMENTS OF 21 U.S.C. § 846
Count 1:               (Conspiracy to Possess with Intent to Distribute and Distribution of a
                                                Controlled Substance)

       A.      The conspiracy described in the indictment was willfully formed and was existing
               at or about the alleged time;

       B.      the defendant knowingly and voluntarily became a part of the conspiracy; and

       C.      the defendant distributed a quantity of a controlled substance(s) equal to or in
               excess of the amount charged in Count 1, agreed to assist in the distribution of a
               quantity of controlled substance(s) equal to or in excess of the amount charged in
               Count 1, or the distribution of the threshold quantity of controlled substance(s)
               equal to or in excess of the amount charged in Count 1 was reasonably foreseeable
               to the defendant and same was within the scope of the defendant’s agreement and
               understanding.

PENALTY:
Mandatory Minimum: 10 years
Maximum: life
Fine: $10,000,000
Supervised release: at least 5 years
Special Assessment: $100.00
